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 4   Telephone: (916) 554-2725
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 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               ) Case No. 2:11-cr-00295-MCE
                                             )
12               Plaintiff,                  )
                                             ) MOTION TO DISMISS COUNT 11
13         v.                                ) AS TO DEFENDANT NEKRASOVA;
                                             ) ORDER
14   OLGA NEKRASOVA,                         )
                                             )
15               Defendant.                  )
                                             )
16                                           )
17         On December 1, 2011, the defendant pleaded guilty to Count
18   Four of the indictment, pursuant to a written Plea Agreement, and
19   was sentenced that same day to time served.        The Department of
20   Homeland Security has informed the undersigned that the defendant
21   returned to Russia late last week.        Therefore, pursuant to Rule
22   48(a) of the Federal Rules of Criminal Procedure and Part III (A)
23   of the Plea Agreement, the government moves that the Court
24   dismiss Count 11 of the indictment as to this defendant only.
25   ///
26   ///
27   ///
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 1                                       Respectfully submitted,
 2                                       BENJAMIN B. WAGNER
 3                                       United States Attorney

 4   Date: December 13, 2011       By:   /s/ Daniel S. McConkie
                                         DANIEL S. McCONKIE
 5                                       Assistant U.S. Attorney

 6                                       Attorneys for the Plaintiff
                                         UNITED STATES OF AMERICA
 7
 8
                                   O R D E R
 9
10    APPROVED AND SO ORDERED.

11   Dated: January 11, 2012
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13
                                    _______________________________________
14                                  MORRISON C. ENGLAND, JR.
                                    UNITED STATES DISTRICT JUDGE
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